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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


OUTSOURCING FACILITIES
ASSOCIATION
1050 Connecticut Ave., NW
Suite 1100
Washington, D.C. 20036-5403,

Plaintiff,                                  Civil Action No. 22-1702

v.

XAVIER BECERRA
in his official capacity as
Secretary of Health and Human Services
200 Independence Avenue, SW
Washington, DC 20201,

U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES
200 Independence Avenue, SW
Washington, DC 20201,

ROBERT M. CALIFF
in his official capacity as
Commissioner of Food and Drugs
10903 New Hampshire Avenue
Silver Spring, MD 20993, and

U.S. FOOD AND DRUG
ADMINISTRATION
10903 New Hampshire Avenue
Silver Spring, MD 20993,

Defendants.
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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Outsourcing Facilities Association (“OFA”) brings this complaint against

Defendants Xavier Becerra, Robert Califf, U.S. Department of Health and Human Services

(“HHS”), and U.S. Food and Drug Administration (“FDA”) (collectively, “Defendants”) for

violating the Administrative Procedure Act (“APA”). In support thereof, OFA states the

following:


                                     NATURE OF ACTION

       1.       This action challenges as a violation of the Administrative Procedure Act

Defendants’ unreasonable delay in carrying out Congress’s directive to list the bulk drug

substances (i.e., active pharmaceutical ingredients) “for which there is a clinical need.” 21 U.S.C.

§ 353b(a)(2)(A)(i). Congress assigned this task to the HHS Secretary nearly a decade ago. Yet,

Defendants still have not listed a single bulk drug substance for compounding sterile drugs.

       2.       In November 2013, Congress quickly reacted to an urgent crisis in the nation’s

supply of safely compounded sterile drugs by creating a new type of FDA-regulated entity called

“the drug compounding outsourcing facility.” These facilities are also known as “503B facilities”

because they were created by Section 503B of the Food, Drug, and Cosmetic Act (“FD&C Act”)

to safely compound sterile drugs. Plaintiff Outsourcing Facilities Association (“OFA”) is a trade

association whose members responded to Congress’s urgent call by making substantial

investments to establish 503B facilities and register them with the U.S. Food and Drug

Administration (“FDA”).

       3.       Congress intended 503B facilities to supply safely compounded sterile drugs to

the nation’s healthcare providers using bulk drug substances for which there is a clinical need

and directed the HHS Secretary to list those substances in the Federal Register using 60-day



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notice and comment procedures. 21 U.S.C. § 353b(a)(2)(A)(i). The Secretary delegated that

responsibility to FDA, which refers to the list as the “503B Bulks List.”

        4.       In more than eight years, however, FDA has added only four substances to the

503B Bulks List, all of which are for compounding topical dosage forms, not sterile drugs.

Defendants’ unreasonable delay in identifying the bulk drug substances for which there is a

clinical need is thwarting Congress’ purpose in creating 503B facilities and hurting public health

by denying healthcare providers’ access to the safely compounded sterile drugs their patients

need.

        5.       In 2018, FDA established a process to publicly categorize nominations for adding

a bulk drug substance to the 503B Bulks List. The categorization of nominations is how FDA

indicates whether the nominator provided sufficient information for FDA to act on the

nomination or if the nominator must supply more information. FDA stated at the time that it

would categorize nominated substances monthly. Yet, FDA has not categorized many of the

nominations it has received, including more than 30 of the OFA-nominated substances. More

than half of those OFA-nominated substances were submitted to FDA more than three years ago.

        6.       Defendants should comply with Congress’s directive to list the bulk drug

substances for which there is a clinical need so the facilities Congress created to compound

sterile drugs for the nation’s healthcare providers can serve public health as Congress intended.

At a minimum, FDA should follow its own policy by promptly categorizing the nominations that

have languished in regulatory limbo for years and categorize any new nominations monthly as it

said it would.




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                                              PARTIES

        7.       Plaintiff Outsourcing Facilities Association is the trade association representing

FDA-registered outsourcing facilities (“503B facilities”) operating pursuant to Section 503B of

the FD&C Act. OFA’s members provide compounding services to patients, healthcare providers,

and healthcare facilities, and strive to ensure the specific needs of both providers and patients are

met with safe and effective compounded and/or repackaged medications. OFA has been actively

following FDA’s implementation of the Compounding Quality Act (“CQA”) and has brought

together members of industry to advocate for a safe, reasonable and practical rollout of the CQA.

OFA’s offices are located at 1050 Connecticut Ave., NW Suite 1100, Washington, D.C. 20036-

5403.

        8.       Defendant Xavier Becerra (“Secretary”) is Secretary of U.S. Health and Human

Services (“HHS”). He maintains offices at 200 Independence Avenue, SW, Washington, D.C.

20201. In his capacity as Secretary, he is responsible for the conduct and policies of HHS.

Defendant Becerra, by and through his designees at HHS, has delayed and withheld the agency

action Congress required. His governmental activities occur in this District and nationwide.

Defendant Becerra is sued solely in his official capacity.

        9.       Defendant Robert Califf (“Commissioner”) is Commissioner of the U.S. Food and

Drug Administration (“FDA”). FDA is the agency that administers the programs under the

Federal Food, Drug, and Cosmetic Act (“FD&C Act”). Defendant Califf, by and through his

designees at FDA, has delayed and withheld the agency action Congress required. His

governmental activities occur in this District and nationwide. Defendant Califf is sued solely in

his official capacity.




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       10.     Defendant HHS is a cabinet-level department of the United States government. Its

headquarters and principal place of business are at 200 Independence Avenue, SW, Washington,

D.C. 20201. Its governmental activities occur in this District and nationwide.

       11.     Defendant FDA is an agency of the United States and a division of HHS. FDA’s

headquarters and principal place of business are at 10903 New Hampshire Avenue, Silver

Spring, MD 20993. Its governmental activities occur in this District and nationwide. FDA is the

federal agency in charge of administering the FD&C Act, including implementation of the Drug

Quality and Security Act of 2013 (“DQSA”).


                                JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because this action presents a case and controversy under the Federal Food, Drug, and

Cosmetic Act, 21 U.S.C. § 301 et seq. (“FD&C Act”) and the Administrative Procedure Act, 5

U.S.C. § 551 et seq. (“APA”).

       13.     Plaintiff’s claims for declaratory and injunctive relief are authorized by 28 U.S.C.

§§ 2201 and 2202, 5 U.S.C. § 706, 28 U.S.C. § 1361, 28 U.S.C. § 1651(a), Rules 57 and 65 of

the Federal Rules of Civil Procedure, and the general legal and equitable powers of this Court

(which exist even absent a finding of unreasonable delay).

       14.     OFA has standing because it, and at least one of its members, have been and

continue to be harmed by Defendants’ delay in identifying the bulk drug substances “for which

there is a clinical need,” as required under 21 U.S.C. § 353b(a)(2)(A)(i). These injuries would be

redressed by requiring Defendants to fulfil their obligation to identify those bulk drug

substances. Through this lawsuit, OFA seeks to vindicate interests that are germane to its

purposes. Litigation will not be adversely affected by the absence of the individual members of



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OFA as named parties in this lawsuit. Consistent with its purpose as a trade association whose

members are outsourcing facilities registered under Section 503B of FD&C Act, OFA, as well as

its members, nominated substances that FDA should identify as bulk drug substances for which

there is a clinical need. OFA has expended and continues to expend resources because of

Defendants’ unlawful delay in identifying the bulk drug substances for which there is a clinical

need. OFA submitted a citizen petition to FDA under 21 C.F.R. § 10.30, dated September 30,

2020, requesting, among other things, that FDA establish the list of bulk drug substances for

which there is a clinical need within the next 180 days. FDA denied the petition on January 25,

2021. One or more of OFA’s members would compound sterile drugs pursuant to Section 503B

using the nominated substances if FDA identified them as substances for which there is a clinical

need.

        15.    Venue lies in this district under 28 U.S.C. § 1391(e) in that Defendants Becerra

and Califf are officers and employees of a United States agency, Defendants reside in the District

of Columbia, a substantial part of the events giving rise to this claim occurred in the District of

Columbia, Plaintiff resides in this district, and no real property is involved in the action. Venue

also lies in this district under 5 U.S.C. § 703 because there is no special statutory procedure for

appeal and this court is a court of competent jurisdiction.


                    STATUTORY AND REGULATORY BACKGROUND

        A.     Congress created Section 503B outsourcing facilities to compound sterile
               drug products for the nation’s healthcare providers.

        16.    In November 2013, Congress created a new category of regulated entity—drug

compounding outsourcing facilities—by adding Section 503B to the FD&C Act. Compounding

Quality Act (“CQA”) (Title I of the Drug Quality and Security Act (“DQSA”)), Pub. L. No. 113-

54, 127 Stat. 587 (2013).


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       17.     A drug compounding “outsourcing facility”—also known as a 503B facility—is

defined in Section 503B of the FD&C Act as “a facility at one geographic location or address

that (i) is engaged in the compounding of sterile drugs; (ii) has elected to register as an

outsourcing facility; (iii) and complies with all of the requirements of this section.” 21 U.S.C. §

353b(d)(4). A “sterile drug” is one “intended for parenteral administration, an ophthalmic or oral

inhalation drug in aqueous format, or a drug that is required to be sterile under Federal or State

law.” 21 U.S.C. § 353b(d)(5). Compounding is the act of “combining, admixing, mixing,

diluting, pooling, reconstituting, or otherwise altering of a drug or bulk drug substance to create a

drug.” 21 U.S.C. § 353b(d)(1).

       18.     Congress enacted the DQSA—creating 503B facilities—to remedy the legacy of

unregulated and unsafe compounding practices for sterile drugs, culminating in a 2012 outbreak

of fungal meningitis that killed more than 60 people and infected 750 others when the New

England Compounding Center (NECC)—which was not a 503B facility—compounded

purportedly sterile drugs that were tainted with bacterial and fungal contamination. Congress

immediately held hearings to determine how to ensure healthcare providers would have a safe

supply of compounded sterile drugs so that another NECC-type tragedy would not recur. See

Hearing on the Fungal Meningitis Outbreak: Could It Have Been Prevented? 112th Cong. (Nov.

14, 2012). Congress reacted with urgency to find a legislative solution. See 159 Cong. Rec.

14,650 (2013) (statement of Rep. Murphy) (“How we got here is a tragedy.”); S. Hrg. No. 113-

756, at 22 (statement of Sen. Baldwin) (“Last year’s tragic meningitis outbreak underscored the

importance of updating Federal compounding policy.”); 159 Cong. Rec. 14,647 (2013)

(statement of Rep. Pitts) (explaining Congress sought to “prevent against another tragedy like

NECC’s”); H. Ser. No. 113-31, at 7 (statement of Rep. Upton) (“We have to do something that is




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truly effective to prevent this from happening again.”); id. at 9 (statement of Rep. Waxman)

(“Our most critical task is to answer this question: how can we prevent another NECC tragedy

from occurring again?”).

       19.     At the same time, Congress recognized that “[w]ithout compounders, doctors

would not perform surgeries. Without compounders, oncologists would be forced to administer

alternative chemotherapy drugs. Without compounders, patients would suffer from limited

access.” 159 Cong. Rec. S8071-04 (daily ed. Nov. 18, 2013) (statement of Sen. Boozman).

Recognizing the urgent need for healthcare providers to have a safe supply of compounded

sterile drugs, Congress expeditiously passed the DQSA, paving the way for compounding of

sterile drugs from bulk drug substances to be carried out by newly created entities—503B

facilities—that are held to the most stringent federal standards for compounding sterile drugs.

       20.     To ensure that healthcare providers have access to safe, compounded drugs,

Congress intended 503B facilities to compound sterile drugs for hospitals, clinics, and healthcare

practitioners to keep on hand as “office stock” for patients who present with an immediate need

for them. 503B facilities provide their compounded sterile drugs directly to the healthcare

providers that need them as drugs compounded by 503B facilities cannot be sold or transferred

by an entity other than the FDA-registered facility that compounded them. 21 U.S.C. §§

353b(a)(8). Other compounders, such as state-licensed pharmacies (sometimes referred to as

“traditional compounders”), compound drugs solely based on the receipt of a prescription for an

identified, individual patient. 21 U.S.C. § 353a.

       21.     503B facilities are FDA-registered and FDA-inspected. 21 U.S.C. §§ 353b(b)(1),

353b(b)(4). The bulk drug substances they use to compound drugs are each manufactured by




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FDA-registered manufacturers. 21 U.S.C. § 353b(a)(2)(C). 503B facilities report both the drugs

they compound and adverse events to the FDA. 21 U.S.C. §§ 353b(b)(2), 353b(b)(5).

       22.     503B facilities are subject to more regulatory requirements and compound sterile

drugs under more stringent conditions than traditional compounders, including being subject to

current good manufacturing practice (“CGMP”) requirements under section 501(a)(2)(B) of the

FD&C Act. 21 U.S.C. § 351(a)(2)(B).

       23.     503B facilities compound sterile drugs using active pharmaceutical ingredients

from two different sources, either from a packaged, FDA-approved drug or from FDA-registered

manufacturers of active pharmaceutical ingredients. When a 503B facility compounds a drug

using active pharmaceutical ingredient sourced from an FDA-registered manufacturer of that

substance it is referred to as compounding from a “bulk drug substance.” 21 U.S.C. § 353b(a)(2).

       24.     FDA defines “bulk drug substance” as follows: “Bulk drug substance, as

referenced in sections 503A(b)(1)(A) and 503B(a)(2) of the Federal Food, Drug, and Cosmetic

Act, means the same as ‘active pharmaceutical ingredient’ as defined in [21 C.F.R.] § 207.1(b).”

21 C.F.R. § 207.3. FDA defines the term “active pharmaceutical ingredient” as follows: “Active

pharmaceutical ingredient means any substance that is intended for incorporation into a finished

drug product and is intended to furnish pharmacological activity or other direct effect in the

diagnosis, cure, mitigation, treatment, or prevention of disease, or to affect the structure or any

function of the body. Active pharmaceutical ingredient does not include intermediates used in the

synthesis of the substance.” 21 C.F.R. § 207.1.

       25.     Congress authorized 503B facilities to compound drug products using bulk drug

substances for which there is a “clinical need” and instructed the Secretary to establish the list

“identifying bulk drug substances for which there is a clinical need” by




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       (I) publishing a notice in the Federal Register proposing bulk drug substances to
       be included on the list, including the rationale for such a proposal;

       (II) providing a period of not less than 60 calendar days for comment on the
       notice; and

       (III) publishing a notice in the Federal Register designating bulk drug substances
       for inclusion on the list.

21 U.S.C. § 353b(a)(2)(A)(i).

       B.      In more than eight years since Congress directed HHS to list the bulk drug
               substances for which there is a clinical need, Defendants have yet to list a
               single bulk drug substance for compounding sterile drugs.

       26.     On December 4, 2013, FDA opened a docket to solicit nominations of bulk drug

substances for the 503B Bulks List, with a deadline of March 4, 2014. FDA, Bulk Drug

Substances That May Be Used To Compound Drug Products in Accordance With Section 503B

of the Federal Food, Drug, and Cosmetic Act, Concerning Outsourcing Facilities; Request for

Nominations, 78 Fed. Reg. 72838 (Dec. 4, 2013). On July 2, 2014, FDA extended the deadline to

September 30, 2014. FDA, Bulk Drug Substances That May Be Used To Compound Drug

Products in Accordance With Section 503B of the Federal Food, Drug, and Cosmetic Act,

Concerning Outsourcing Facilities; Revised Request for Nominations, 79 Fed. Reg. 37750 (July

2, 2014). By the September 30, 2014 deadline, FDA received nominations for the list of bulk

drug substances for which there is a clinical need, yet did not make clinical need determinations

regarding any of them.

       27.     More than one year later, on October 27, 2015, FDA opened a new docket to

again solicit nominations for the 503B Bulks List, but this time did not set a deadline for

nominations. FDA, Bulk Drug Substances That Can Be Used To Compound Drug Products in

Accordance With Section 503B of the Federal Food, Drug, and Cosmetic Act; Establishment of a




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Public Docket, 80 Fed. Reg. 65770 (Oct. 27, 2015). In response to the October 27, 2015 notice,

FDA again received nominations for the 503B Bulks List, including from OFA.

         28.   FDA did not announce any clinical need determinations regarding any bulk drug

substances until 2019, when it published a notice stating it had found “no clinical need for an

outsourcing facility to compound using the bulk drug substances nicardipine hydrochloride and

vasopressin and, therefore, we are not including nicardipine hydrochloride and vasopressin on

the 503B Bulks List.” FDA, List of Bulk Drug Substances for Which There Is a Clinical Need

Under Section 503B of the Federal Food, Drug, and Cosmetic Act, 84 Fed. Reg. 7383 (March 4,

2019).

         29.   On January 27, 2022, FDA decided not to include eight bulk drug substances on

the 503B Bulks List. FDA, List of Bulk Drug Substances for Which There is a Clinical Need

Under Section 503B of the Federal Food, Drug, and Cosmetic Act, 87 Fed. Reg. 4240 (Jan. 27,

2022) (diazepam, dipyridamole, dobutamine hydrochloride (HCl), dopamine HCl, edetate

calcium disodium, folic acid, glycopyrrolate, and sodium thiosulfate (except for topical

administration)).

         30.   There are several other bulk drug substances that FDA has proposed not to

include on the 503B Bulks List. See FDA, List of Bulk Drug Substances for Which There is a

Clinical Need Under Section 503B of the Federal Food, Drug, and Cosmetic Act, 84 Fed. Reg.

7383 (March 4, 2019) (1: bumetanide); FDA, List of Bulk Drug Substances for Which There is a

Clinical Need Under Section 503B of the Federal Food, Drug, and Cosmetic Act, 84 Fed. Reg.

46014 (Sept. 3, 2019) (8: ephedrine sulfate, famotidine, hydralazine hydrochloride, methacholine

chloride, sodium bicarbonate, sodium tetradecyl sulfate, trypan blue, and vecuronium bromide);

FDA, List of Bulk Drug Substances for Which There is a Clinical Need Under Section 503B of




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the Federal Food, Drug, and Cosmetic Act, 85 Fed. Reg. 46126 (July 31, 2020) (13: hydroxyzine

HCl, ketorolac tromethamine, labetalol HCl, mannitol, metoclopramide HCl, moxifloxacin HCl,

nalbuphine HCl, polidocanol, potassium acetate, procainamide HCl, sodium nitroprusside,

sodium thiosulfate, and verapamil HCl); FDA, List of Bulk Drug Substances for Which There is

a Clinical Need Under Section 503B of the Federal Food, Drug, and Cosmetic Act, 86 Fed. Reg.

15673 (Mar. 24, 2021) (4: bromfenac sodium, mitomycin-C, nepafenac, and hydroxychloroquine

sulfate).

        31.     The DQSA does not require FDA to create a “no clinical need list” nor to propose

not to include a substance on the 503B Bulks List yet FDA has decided to take such action.

        32.     FDA did not list any substance on the 503B Bulks List until 2022, when FDA

added four substances “for topical use only”: Diphenylcyclopropenone (nominated on September

30, 2014; FDA-2013-N-1524-1363), glycolic acid (nominated on November 9, 2017; FDA-

2015-N-3469-0035), squaric acid dibutyl ester (nominated on September 30, 2014; FDA-2013-

N-1524-1363), and trichloroacetic acid (nominated on April 13, 2018; FDA-2018-D-1067-0005).

FDA, List of Bulk Drug Substances for Which There is a Clinical Need Under Section 503B of

the Federal Food, Drug, and Cosmetic Act, 87 Fed. Reg. 4240 (January 27, 2022). FDA placed

these four substances on the 503B Bulks List only for compounding drugs that are “for topical

use only” and not for compounding sterile drugs. Id.

        33.     FDA is capable of final action on a nomination for the 503B Bulks List in under

two years, as shown in the case of vasopressin. Vasopressin was nominated for the 503B Bulks

List on April 1, 2017 (see FDA-2015-N-3469-0012 and FDA-2015-N-3469-0023) and FDA

published its decision not to list the substance on March 4, 2019. FDA, List of Bulk Drug

Substances for Which There Is a Clinical Need Under Section 503B of the Federal Food, Drug,




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and Cosmetic Act, 84 Fed. Reg. 7383 (March 4, 2019). That 23-month period included a 35-day

government shutdown.

       34.     In the context of new drug applications, FDA makes decisions on complete

applications within 6 to 10 months. Making a clinical need determination based on a complete

nomination is less complex than deciding a new drug application. Indeed, FDA has summarized

its evaluation of bulk drug substances as involving only a few steps. FDA, Evaluation of Bulk

Drug Substances Nominated for Use in Compounding Under Section 503B of the Federal Food,

Drug, and Cosmetic Act at 18 (March 2019), available at

https://www.fda.gov/media/121315/download. First, FDA considers “Is the nominated bulk drug

substance a component of an FDA-approved drug product?” Id. If it is not, then FDA considers

“(2) Do the following factors, taken together, weigh in favor of a finding that there is a clinical

need for outsourcing facilities to compound using the nominated bulk drug substance? (a) The

physical and chemical characterization of the substance; (b) Any safety issues raised by the use

of the substance in compounding; (c) The available evidence of effectiveness or lack of

effectiveness of a drug product compounded with the substance, if any such evidence exists; and

(d) Current and historical use of the substance in compounded drug products, including

information about the medical condition(s) that the substance has been used to treat and any

references in peer-reviewed medical literature.” Id. If, on the other hand, the nominated bulk

drug substance is a component of an FDA-approved drug product, then FDA considers two more

questions. “Is there a basis to conclude, for each FDA approved product that includes the

nominated bulk drug substance, that (i) an attribute of the FDA-approved drug product makes it

medically unsuitable to treat certain patients for the condition that FDA is evaluating, and (ii) the

drug product proposed to be compounded is intended to address that attribute?” Id. And “Is there




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a basis to conclude that the drug product proposed to be compounded must be produced from a

bulk drug substance rather than from an FDA-approved drug product?” Id.

       35.     “There is ‘no per se rule as to how long is too long’ to wait for agency action …

but a reasonable time for agency action is typically counted in weeks or months, not years.” In re

Am. Rivers & Idaho Rivers United, 372 F.3d 413, 419 (D.C. Cir. 2004) (internal citation

omitted). Yet, despite hundreds of nominations of bulk drug substances for compounding sterile

drugs for the 503B Bulks List, to date—more than eight years after Congress directed the HHS

Secretary to identify the bulk drug substances for which there is a clinical need so that 503B

facilities could compound sterile drugs and supply them to the nation’s health care providers—

Defendants have not listed a single bulk drug substance for compounding sterile drugs on the

503B Bulks List. FDA has failed to do so despite the fact Congress, recognizing the urgency,

expeditiously enacted the DQSA and defined a 503B outsourcing facility as one that “is engaged

in the compounding of sterile drugs.” 21 U.S.C. § 353b(d)(4).

       36.     FDA’s eight-year-plus delay is harming public health and undermining the

statutory scheme by frustrating Congress’s intent to give healthcare providers access to sterile

drugs compounded using bulk drug substances at the type of facility Congress created for this

purpose. Until FDA acts, healthcare providers are left to source such drugs from drug

compounders who are not held to the same high standards as 503B facilities, or from 503B

facilities who supply them at the mercy of FDA’s enforcement discretion.

       C.      FDA has not followed its own policies and procedures for processing
               nominations for the 503B Bulks List, leaving nominations in regulatory
               limbo for years.

       37.     FDA established a process to categorize nominations in three categories:

       503B Category 1 – Substances Nominated for the Bulks List Currently Under Evaluation:
       These substances may be eligible for inclusion on the 503B bulks list, were nominated



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       with sufficient supporting information for FDA to evaluate them, and do not appear on
       any other list.

       503B Category 2 – Substances Nominated for the Bulks List That Raise Significant
       Safety Risks: These substances were nominated with sufficient supporting information to
       permit FDA to evaluate them and they may be eligible for inclusion on the 503B bulks
       list. However, FDA has identified significant safety risks relating to the use of these
       substances in compounding pending further evaluation, and therefore does not intend to
       adopt the policy described for the substances in category 1. If FDA adds a substance to
       Category 2, it will publish a public communication (e.g., a safety alert) describing the
       safety risks and will post the communication on FDA’s human drug compounding
       website advising that the substance has been added to Category 2 and is no longer
       eligible for the policies that apply to substances in Category 1.

       503B Category 3 – Substances Nominated for the Bulks List Without Adequate Support:
       These substances may be eligible for inclusion on the 503B bulks list, but were
       nominated with insufficient supporting information for FDA to evaluate them. These
       substances can be re-nominated with sufficient supporting information through a docket
       that FDA has established, as discussed below in section III.B.

   FDA, Interim Policy on Compounding Using Bulk Drug Substances Under Section 503B of
   the Federal Food, Drug, and Cosmetic Act (January 2017) (“Interim Policy”), available at
   https://www.fda.gov/regulatory-information/search-fda-guidance-documents/interim-policy-
   compounding-using-bulk-drug-substances-under-section-503b-federal-food-drug-and.

       38.     FDA stated in its Interim Policy that when a substance is nominated in response to

the docket it opened on October 27, 2015, “FDA will determine whether the nomination is

supported with sufficient information to allow FDA to evaluate it. After FDA makes that

determination, the nominated substance will be placed in one of the three categories described in

section II.B.2 above, and the categorization will be published on the FDA website.” Interim

Policy at 9.

       39.     FDA said it “generally expects to categorize bulk drug substances nominated to

the October docket and to publish updated categories on its website on the first business day of

each month.” Interim Policy at 9. In fact, FDA has not categorized many of the bulk drug

substance that have been nominated for the 503B Bulks List. And FDA has not published

updates categorizing nominated substances on a monthly basis.



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       40.      For example, OFA nominated the following 18 bulk drug substances more than

three years ago which FDA has not categorized:


    Substance            Nomination      Date FDA    Regulations.gov URL
                         ID              Received
    Testosterone         FDA-2015-N-     6/11/18     www.regulations.gov/document?D=FDA-
    Enanthate            3469-0084                   2015-N-3469-0084
    Benzoyl peroxide     FDA-2015-N-     7/23/18     www.regulations.gov/document?D=FDA-
                         3469-0104                   2015-N-3469-0104
    Iodoquinol           FDA-2015-N-     7/23/18     www.regulations.gov/document?D=FDA-
                         3469-0128                   2015-N-3469-0128
    Lidocaine            FDA-2015-N-     7/23/18     www.regulations.gov/document?D=FDA-
                         3469-0133                   2015-N-3469-0133
    Tetracaine           FDA-2015-N-     7/23/18     www.regulations.gov/document?D=FDA-
                         3469-0150                   2015-N-3469-0150
    Methadone            FDA-2015-N-     8/17/18     www.regulations.gov/document?D=FDA-
    hydrochloride        3469-0170                   2015-N-3469-0170
    Hydrogen             FDA-2015-N-     10/8/18     www.regulations.gov/document?D=FDA-
    peroxide             3469-0206                   2015-N-3469-0206
    Amiodarone           FDA-2015-N-     10/31/18    www.regulations.gov/document?D=FDA-
    Hydrochloride        3469-0230                   2015-N-3469-0230
    (HCl)
    Isoproterenol    FDA-2015-N-         10/31/18    www.regulations.gov/document?D=FDA-
    Hydrochloride    3469-0234                       2015-N-3469-0234
    Gatifloxacin     FDA-2015-N-         3/4/19      www.regulations.gov/document?D=FDA-
                     3469-0255                       2015-N-3469-0255
    Prednisolone     FDA-2015-N-         4/24/19     www.regulations.gov/document?D=FDA-
    sodium phosphate 3469-0274                       2015-N-3469-0274
    Levocarnitine    FDA-2015-N-         5/1/19      www.regulations.gov/document?D=FDA-
                     3469-0278                       2015-N-3469-0278
    Nicotinamide     FDA-2015-N-         5/1/19      www.regulations.gov/document?D=FDA-
    Adenine          3469-0281                       2015-N-3469-0281
    Dinucleotide
    Azithromycin     FDA-2015-N-         5/9/19      www.regulations.gov/document?D=FDA-
                     3469-0284                       2015-N-3469-0284
    Dorzolamide      FDA-2015-N-         5/9/19      www.regulations.gov/document?D=FDA-
                     3469-0287                       2015-N-3469-0287
    Latanoprost      FDA-2015-N-         5/9/19      www.regulations.gov/document?D=FDA-
                     3469-0288                       2015-N-3469-0288
    Loteprednol      FDA-2015-N-         5/9/19      www.regulations.gov/document?D=FDA-
                     3469-0289                       2015-N-3469-0289
    Timolol          FDA-2015-N-         5/9/19      www.regulations.gov/document?D=FDA-
                     3469-0290                       2015-N-3469-0290



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    Ipamorelin            FDA-2015-N- 5/13/19          www.regulations.gov/document?D=FDA-
    acetate               3469-0293                    2015-N-3469-0293

       41.     FDA also has not categorized the following 14 bulk drug substances which OFA

nominated between June 2020 and December 2021:


    Substance             Nomination       Date FDA      Regulations.gov URL
                          ID               Received
    Gonadorelin           FDA-2015-N-                    www.regulations.gov/document?D=FDA-
    acetate               3469-0311        6/15/20       2015-N-3469-0311
    Bimatoprost           FDA-2015-N-                    www.regulations.gov/document/FDA-
                          3469-0326        3/1/21        2015-N-3469-0326
    Fluoruracil           FDA-2015-N-                    www.regulations.gov/document/FDA-
                          3469-0324        3/1/21        2015-N-3469-0324
    Minocycline           FDA-2015-N-                    www.regulations.gov/document/FDA-
    hydrochloride         3469-0325        3/1/21        2015-N-3469-0325
    Tofacitinib citrate   FDA-2015-N-                    www.regulations.gov/document/FDA-
                          3469-0329        3/1/21        2015-N-3469-0329
    Tranexamic acid       FDA-2015-N-                    www.regulations.gov/document/FDA-
                          3469-0327        3/1/21        2015-N-3469-0327
    Doxycycline           FDA-2015-N-                    www.regulations.gov/document/FDA-
    hyclate               3469-0342        5/27/21       2015-N-3469-0342
                          FDA-2015-N-                    www.regulations.gov/document/FDA-
    Isotretinoin          3469-0342        5/27/21       2015-N-3469-0342
                          FDA-2015-N-                    www.regulations.gov/document/FDA-
    Trimethoprim          3469-0342        5/27/21       2015-N-3469-0342
    Valacyclovir          FDA-2015-N-                    www.regulations.gov/document/FDA-
    hydrochloride         3469-0342        5/27/21       2015-N-3469-0342
    Sulfamethoxazole      FDA-2015-N-      7/5/21        www.regulations.gov/document/FDA-
                          3469-0346                      2015-N-3469-0346
    Naltrexone            FDA-2015-N-      8/11/21       www.regulations.gov/document/FDA-
    hydrochloride         3469-0349                      2015-N-3469-0349
    Capsaicin             FDA-2015-N-      9/21/21       www.regulations.gov/document/FDA-
                          3469-0351                      2015-N-3469-0351
    Nicotinamide          FDA-2015-N-      12/23/21      www.regulations.gov/document/FDA-
    riboside chloride     3469-0352                      2015-N-3469-0352

       42.     FDA’s failure to follow its own Interim Policy is contributing to FDA’s

unreasonable delay in identifying the bulk drug substances for which there is a clinical need. By

failing to promptly categorize bulk drug substances nominated for the 503B Bulks List as it said

it would, FDA is keeping nominators such as OFA in the dark as to whether they provided FDA


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with sufficient information to evaluate the nominated bulk drug substance or whether they need

to provide additional information before FDA will evaluate them.


                                     CLAIMS FOR RELIEF

   Count I: Violation of the Administrative Procedure Act (5 U.S.C. §§ 555(b) & 706(1))

       43.     Plaintiff incorporates by reference paragraphs 1-42.

       44.     The APA requires this Court to “compel agency action” that has been “unlawfully

withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

       45.     Section 555(b) of the Administrative Procedure Act requires each agency “to

conclude a matter presented to it” “within a reasonable time,” 5 U.S.C. § 555(b). Section 706(1)

provides that a reviewing court “shall compel agency action unlawfully withheld or unreasonably

delayed.” 5 U.S.C. § 706(1).

       46.     “Agency action” means the “whole or a part of an agency rule, order, license,

sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13).

       47.     HHS and FDA each are an “agency” for purposes of the APA. See 5 U.S.C. §§

551(1), 701(b)(1).

       48.     Defendants’ identification of the bulk drug substances for which there is a clinical

need pursuant to 21 U.S.C. § 353b(a)(2)(A)(i) would be an “agency action” within the meaning

of 5 U.S.C. § 551(13) and a “final agency action” within the meaning of 5 U.S.C. § 704.

       49.     Section 503B of the FD&C Act imposes a mandatory duty on the HHS Secretary

to identify the bulk drug substances for which there is a clinical need.

       50.     5 U.S.C. § 555(b) imposes a mandatory duty on the HHS Secretary to do so

within a reasonable time.




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       51.     Together, Sections 555(b) and 706(1) “indicate a congressional view that agencies

should act within reasonable time frames and that courts designated by statute to review agency

actions may play an important role in compelling agency action that has been improperly

withheld or unreasonably delayed.” Telecommunications Research & Action Center v. FCC, 750

F.2d 70, 76–77 (D.C. Cir. 1984).

       52.     Defendants’ failure after eight years to identify the bulk drug substances for

which there is a clinical need, including its failure to identify a single bulk drug substance for

compounding sterile drugs, even though Congress intended 503B facilities to compound sterile

drugs, constitutes agency action “unlawfully withheld or unreasonably delayed,” 5 U.S.C. §

706(1), and a failure by the agency to “conclude a matter presented” to the agency “within a

reasonable time,” id. § 555(b).

       53.     Under 5 U.S.C. § 706(1), the Court should issue an injunction compelling

Defendants to identify the bulk drug substances for which there is a clinical need, including for

compounding sterile drugs, within a reasonable time. At a minimum, FDA should promptly

categorize all uncategorized nominations under its Interim Policy and do so going forward on a

monthly basis as FDA had said that it would but has not.

       54.     Under 28 U.S.C. § 2201, this Court should declare that Defendants’ failure to

identify the bulk drug substances for which there is a clinical need is an agency action unlawfully

withheld or unreasonably delayed within the meaning of 5 U.S.C. § 706(1).

       55.     OFA has no other adequate remedy that is an alternative to the remedies requested

in this Complaint.




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                                    REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

       a) Declare that Defendants have violated the APA by unlawfully withholding and

          unreasonably delaying performance of their duty to identify the bulk drug substances

          for which there is a clinical need under Section 503B of the FD&C Act;

       b) Order Defendants to perform within a reasonable time their obligation to identify the

          bulk drug substances for which there is a clinical need under Section 503B of the

          FD&C Act, including by (1) categorizing all uncategorized nominations under FDA’s

          Interim Policy within thirty days and doing so going forward within thirty days for

          any new nominations and (2) issuing an initial status report within thirty days

          providing timelines for action on all nominations that have been pending more than

          one year and quarterly status reports thereafter describing efforts made during the

          preceding three months and expected to be made during the next three month period

          to meet those timelines.

       c) Retain jurisdiction to ensure compliance with the Court’s Orders and that Defendants

          proceed with diligence;

       d) Award Plaintiff its reasonable costs of litigation, including reasonable attorneys’ fees,

          expert fees, and costs; and

       e) Grant such other and further relief as the Court may deem just and proper.




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Dated: June 14, 2022                  Respectfully submitted,


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